           Case 20-10752-abl        Doc 187    Entered 01/21/22 07:29:36     Page 1 of 12


                                 UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEVADA


  In re:                                           §   Case No. 20-10752-ABL
                                                   §
  JIMENEZ ARMS, INC.                               §
                                                   §
                                                   §
                      Debtor(s)                    §

            CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
            CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                       AND APPLICATION TO BE DISCHARGED (TDR)

          Lenard E. Schwartzer, chapter 7 trustee, submits this Final Account, Certification that
  the Estate has been Fully Administered and Application to be Discharged.

       1)       All funds on hand have been distributed in accordance with the Trustee’s Final
Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee’s control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

       2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
claims discharged without payment, and expenses of administration is provided below:



Assets Abandoned:             $4,722.29                Assets Exempt:      NA
(without deducting any secured claims)



Total Distributions to                                 Claims Discharged
Claimants:                        $12,299.63           Without Payment:    NA

Total Expenses of
Administration:                   $21,828.16


        3)      Total gross receipts of $34,127.79 (see Exhibit 1), minus funds paid to the
debtor(s) and third parties of $0.00 (see Exhibit 2), yielded net receipts of $34,127.79 from the
liquidation of the property of the estate, which was distributed as follows:




UST Form 101-7-TDR (10/1/2010)
         Case 20-10752-abl           Doc 187       Entered 01/21/22 07:29:36      Page 2 of 12




                                   CLAIMS             CLAIMS           CLAIMS               CLAIMS
                                 SCHEDULED           ASSERTED         ALLOWED                PAID
  Secured Claims
  (from Exhibit 3)                      $0.00          $504,115.00      $504,115.00          $12,299.63
  Priority Claims:
      Chapter 7
      Admin. Fees and                     NA            $21,828.16        $21,828.16         $21,828.16
      Charges
       (from Exhibit 4)
      Prior Chapter
      Admin. Fees and                     NA                 $0.00             $0.00               $0.00
      Charges (from
      Exhibit 5)
      Priority
      Unsecured                  $1,326,191.09       $1,039,336.36     $1,039,336.36               $0.00
      Claims
      (From Exhibit 6)
  General Unsecured
  Claims (from                    $996,355.99        $7,578,080.28     $7,562,182.61               $0.00
  Exhibit 7)
           Total
     Disbursements               $2,322,547.08       $9,143,359.80     $9,127,462.13         $34,127.79

        4). This case was originally filed under chapter 7 on 02/10/2020. The case was pending
  for 23 months.

       5). All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

        6). An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9.

       Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

         Dated: 01/18/2022                                By:   /s/ Lenard E. Schwartzer
                                                                Trustee




  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. § 1320.4(a)(2) applies.



UST Form 101-7-TDR (10/1/2010)
          Case 20-10752-abl          Doc 187       Entered 01/21/22 07:29:36              Page 3 of 12


                                                 EXHIBITS TO
                                                FINAL ACCOUNT

 EXHIBIT 1 – GROSS RECEIPTS

                        DESCRIPTION                                     UNIFORM                          AMOUNT
                                                                       TRAN. CODE                       RECEIVED
Accounts Receivable                                                       1121-000                        $18,621.79
Office Equipment                                                          1129-000                         $2,935.00
Gun Parts                                                                 1229-000                        $12,571.00
TOTAL GROSS RECEIPTS                                                                                      $34,127.79

 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

 EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES
 NONE


 EXHIBIT 3 – SECURED CLAIMS

 CLAIM           CLAIMANT          UNIFORM               CLAIMS              CLAIMS   CLAIMS               CLAIMS
NUMBER                            TRAN. CODE          SCHEDULED            ASSERTED ALLOWED                  PAID
     3        State of Nevada        4220-000                  $0.00          $6,181.91     $6,181.91             $0.00
              Department of
              Taxation
     4        CLARK                  4220-000                  $0.00            $808.30       $808.30             $0.00
              COUNTY
              ASSESSOR
     13       Alcohol and            4220-000                  $0.00        $497,124.79    $497,124.7     $12,299.63
              Tobacco Tax and                                                                       9
              Trade Bureau
TOTAL SECURED CLAIMS                                           $0.00        $504,115.00    $504,115.0     $12,299.63
                                                                                                    0


 EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

         PAYEE             UNIFORM               CLAIMS              CLAIMS            CLAIMS              CLAIMS
                          TRAN. CODE          SCHEDULED            ASSERTED          ALLOWED                 PAID
Lenard E. Schwartzer,        2100-000                     NA           $4,162.78        $4,162.78          $4,162.78
Trustee
Lenard E. Schwartzer,        2200-000                     NA            $700.60           $700.60            $700.60
Trustee
INTERNATIONAL                2300-000                     NA               $8.95            $8.95                 $8.95
SURETIES, LTD.
Independent Bank             2600-000                     NA            $389.99           $389.99            $389.99
Schwartzer &                 3110-000                     NA         $11,487.00        $11,487.00         $11,487.00
McPherson Law Firm,
Attorney for Trustee
Schwartzer &                 3120-000                     NA            $321.34           $321.34            $321.34
McPherson Law Firm,
Attorney for Trustee

UST Form 101-7-TDR (10/1/2010)
          Case 20-10752-abl         Doc 187    Entered 01/21/22 07:29:36            Page 4 of 12


KENNETH A.                   3410-000              NA         $1,000.00            $1,000.00        $1,000.00
SELTZER, CPA,
Accountant for
Trustee
GENSKE, MULDER               3410-580              NA         $1,960.00            $1,960.00        $1,960.00
& COMPANY, LLP,
Special Accountant
for Trustee
NELLIS AUCTION,              3610-000              NA            $733.75            $733.75          $733.75
Auctioneer for Trustee
HEALTHY                      3991-000              NA         $1,063.75            $1,063.75        $1,063.75
TECHNOLOGY
SOLUTIONS LLC,
Other Professional
TOTAL CHAPTER 7 ADMIN. FEES AND                    NA        $21,828.16        $21,828.16          $21,828.16
CHARGES


 EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
 NONE


 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

 CLAIM          CLAIMANT           UNIFORM          CLAIMS          CLAIMS            CLAIMS        CLAIMS
NUMBER                            TRAN. CODE     SCHEDULED        ASSERTED          ALLOWED           PAID
     3a       State of Nevada       5800-000             $0.00       $1,414.94         $1,414.94        $0.00
              Department of
              Taxation
     7        INTERNAL              5800-000       $421,579.41    $469,624.22       $469,624.22         $0.00
              REVENUE
              SERVICE
    13a       Alcohol and           5800-000             $0.00    $544,014.31       $544,014.31         $0.00
              Tobacco Tax and
              Trade Bureau
     15       DEPT. OF              5800-000             $0.00     $24,282.89         $24,282.89        $0.00
              EMPLOYMENT,
              TRAINING &
              REHAB
              NEVADA                5800-000         $4,611.68             $0.00           $0.00        $0.00
              DEPARTMENT
              OF TAXATION
              UNITED                5800-000       $900,000.00             $0.00           $0.00        $0.00
              STATES
              TREASURY
              (EXCISE TAX)
TOTAL PRIORITY UNSECURED CLAIMS                   $1,326,191.09 $1,039,336.36 $1,039,336.36             $0.00


 EXHIBIT 7 – GENERAL UNSECURED CLAIMS

 CLAIM          CLAIMANT           UNIFORM         CLAIMS          CLAIMS            CLAIMS         CLAIMS
NUMBER                            TRAN. CODE    SCHEDULED        ASSERTED          ALLOWED            PAID


UST Form 101-7-TDR (10/1/2010)
          Case 20-10752-abl       Doc 187    Entered 01/21/22 07:29:36        Page 5 of 12


     1        DEPT. OF            7100-000       $19,825.19    $15,897.67          $0.00     $0.00
              EMPLOYMENT,
              TRAINING &
              REHAB
     2        Praxair             7100-000            $0.00     $1,603.17      $1,603.17     $0.00
              Distribution Inc.
     3b       State of Nevada     7100-000            $0.00      $140.44         $140.44     $0.00
              Department of
              Taxation
     5        PENTRATE            7100-000        $2,100.00     $2,082.34      $2,082.34     $0.00
              METAL
              PROCESSING
     6        GENSKE,             7100-000       $75,000.00    $76,431.78     $76,431.78     $0.00
              MULDER
              COMPANY LLP
     7a       INTERNAL            7100-000            $0.00   $136,666.58    $136,666.58     $0.00
              REVENUE
              SERVICE
     8        CENTENNIAL          7100-000        $2,858.32     $8,672.04      $8,672.04     $0.00
              SPRING CO.
     9        SIERRA              7100-000       $40,000.00    $52,086.71     $52,086.71     $0.00
              WESTERN
              PAPERBOX,
              INC
     10       MJO                 7100-000         $100.00       $100.00         $100.00     $0.00
              ENTERPRISES
     11       Alvino Crawford     7100-000            $0.00 $2,000,000.00   $2,000,000.00    $0.00
              and Beverly
              Crawford,
              individually
     12       City of Kansas      7100-000            $0.00 $5,000,000.00   $5,000,000.00    $0.00
              City, Missouri
    13b       Alcohol and         7100-000            $0.00   $158,771.73    $158,771.73     $0.00
              Tobacco Tax and
              Trade Bureau
     14       Harsch              7200-000            $0.00   $125,627.82    $125,627.82     $0.00
              Investment
              Properties-
              Nevada, LLC
              AZURE               7100-000        $1,031.00         $0.00          $0.00     $0.00
              CREATIVES
              ENTERPRISES
              CAL-AMMO,           7100-000        $2,160.00         $0.00          $0.00     $0.00
              INC
              CARL WAYNE          7100-000      $625,000.00         $0.00          $0.00     $0.00
              ORR
              CLARK               7100-000            $0.00         $0.00          $0.00     $0.00
              COUNTY
              TREASURER
              COAST               7100-000        $2,000.00         $0.00          $0.00     $0.00
              CUTTERS CO,
              INC

UST Form 101-7-TDR (10/1/2010)
         Case 20-10752-abl       Doc 187    Entered 01/21/22 07:29:36        Page 6 of 12


              COMPUTED           7100-000        $2,825.00         $0.00          $0.00     $0.00
              TOOL & DIE
              DEPT OF            7100-000            $0.00         $0.00          $0.00     $0.00
              EMPLOYMENT,
              TRAINING, &
              REHAD
              FOLAND,            7100-000       $21,000.00         $0.00          $0.00     $0.00
              WICKENS,
              ROPER, HOFER
              & CRAWFORD
              IDCI               7100-000       $48,000.00         $0.00          $0.00     $0.00
              INTELLIGENT        7100-000        $4,000.00         $0.00          $0.00     $0.00
              DESIGN I.T.
              CONSULTING
              JA INDUSTRIES      7100-000        $3,640.00         $0.00          $0.00     $0.00
              LLC
              JENNISON           7100-000        $1,025.00         $0.00          $0.00     $0.00
              ENGINEERING
              INC
              NEVADA             7100-000            $0.00         $0.00          $0.00     $0.00
              DEPARTMENT
              OF MOTOR
              VEHICLES
              PAUL JIMENEZ       7100-000       $14,900.00         $0.00          $0.00     $0.00
              JR.
              PAUL JIMINEZ       7100-000       $28,000.00         $0.00          $0.00     $0.00
              SR
              PORTER LAW         7100-000            $0.00         $0.00          $0.00     $0.00
              FIRM, A
              PROFESSIONAL
              CORP
              RBC                7100-000         $988.26          $0.00          $0.00     $0.00
              PRECISION
              PRODUCTS-
              BREMEN
              SOCIAL             7100-000            $0.00         $0.00          $0.00     $0.00
              SECURITY
              ADMINISTRATI
              ON
              SUNSTATE           7100-000        $1,903.22         $0.00          $0.00     $0.00
              EQUIPMENT
              TOTAL              7100-000      $100,000.00         $0.00          $0.00     $0.00
              ECLIPSE
              GROUP, LTD
              UNITED             7100-000            $0.00         $0.00          $0.00     $0.00
              STATES
              TRUSTEE
TOTAL GENERAL UNSECURED CLAIMS                 $996,355.99 $7,578,080.28   $7,562,182.61    $0.00




UST Form 101-7-TDR (10/1/2010)
                             Case 20-10752-abl                    Doc 187         Entered 01/21/22 07:29:36                           Page 7 of 12 Page No:               1
                                                                                 FORM 1
                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                               Exhibit 8
                                                                   ASSET CASES
Case No.:                      20-10752-ABL                                                                  Trustee Name:                               Lenard E. Schwartzer
Case Name:                     JIMENEZ ARMS, INC.                                                            Date Filed (f) or Converted (c):            02/10/2020 (f)
For the Period Ending:         1/18/2022                                                                     §341(a) Meeting Date:                       03/18/2020
                                                                                                             Claims Bar Date:                            08/18/2020

                         1                                    2                       3                               4                         5                         6

                 Asset Description                        Petition/          Estimated Net Value               Property                   Sales/Funds              Asset Fully
                  (Scheduled and                        Unscheduled         (Value Determined by               Abandoned                 Received by the        Administered (FA) /
             Unscheduled (u) Property)                     Value                   Trustee,              OA =§ 554(a) abandon.               Estate               Gross Value of
                                                                           Less Liens, Exemptions,                                                               Remaining Assets
                                                                              and Other Costs)

 Ref. #
1       Accounts Receivable                                 $19,576.50                     $25,000.00                                           $18,621.79                        FA
2       Bank of America Checking                             $4,183.89                      $4,183.89                                                  $0.00                      FA
        #6981
3       Bank of America Checking                               $284.99                        $284.99                                                  $0.00                      FA
        #8849
4       Bank of America Savings #8852                          $153.41                        $163.41                                                  $0.00                      FA
5       Office Equipment                                     $9,389.41                      $2,935.00                                               $2,935.00                     FA
Asset Notes:        9/21/20 Order entered granting mtn to employ Nellis Auction and sell assets at auction; 12/18/20 filed report of sale [Doc 103]
6       Rental of Warehouse at 7390                          Unknown                            $0.00                                                  $0.00                      FA
        Eastgate Rd, Henderson
7       Cash on Hand                                           $100.00                        $100.00                                                  $0.00                      FA
8       Gun Parts                                 (u)             $0.00                    $12,571.00                                           $12,571.00                        FA
Asset Notes:        9/17/20 order entered granting mtn to sell free and clear 10/2/20 filed report of sale
9       Preferences                               (u)             $0.00                    $50,000.00                                                  $0.00                      FA
Asset Notes:        Preferences against Paul Jimenez, his family and his affiliates. Insufficient evidence to pursue
10     Alter Ego Claims against Paul         (u)            $0.00                          $50,000.00                OA                                $0.00                      FA
       Jimenez, and His Other
       Companies and Other Persons
       and/or Entities
Asset Notes:     Order entered 8/18/21 abandoning alter ego claims


TOTALS (Excluding unknown value)                                                                                                                   Gross Value of Remaining Assets
                                                           $33,688.20                     $145,238.29                                           $34,127.79                  $0.00




     Major Activities affecting case closing:
      10/19/2021       11/23/21 ORDER ENTERED APPROVING TFR; REPORT OF DISTRIBUTION


 Initial Projected Date Of Final Report (TFR):              02/28/2022                                                         /s/ LENARD E. SCHWARTZER
 Current Projected Date Of Final Report (TFR):              11/30/2021                                                         LENARD E. SCHWARTZER
                                                    Case 20-10752-abl    Doc 187           Entered
                                                                                           FORM 201/21/22 07:29:36                        Page 8 of 12                  Page No: 1                    Exhibit 9
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          20-10752-ABL                                                                                        Trustee Name:                           Lenard E. Schwartzer
 Case Name:                        JIMENEZ ARMS, INC.                                                                                  Bank Name:                              Independent Bank
Primary Taxpayer ID #:             **-***0912                                                                                          Checking Acct #:                        ******0752
Co-Debtor Taxpayer ID #:                                                                                                               Account Title:
For Period Beginning:              2/10/2020                                                                                           Blanket bond (per case limit):          $5,000,000.00
For Period Ending:                 1/18/2022                                                                                           Separate bond (if applicable):

       1                2                                 3                                        4                                                         5                       6                        7

   Transaction       Check /                          Paid to/             Description of Transaction                                   Uniform           Deposit            Disbursement                  Balance
      Date            Ref. #                       Received From                                                                       Tran Code            $                     $


03/17/2020            (1)      jJIMENEZ ARMS INC                   A/R                                                                  1121-000          $14,695.79                                          $14,695.79
03/17/2020            (1)      RGW SPORTS INC                      A/R                                                                  1121-000            $570.00                                           $15,265.79
06/19/2020            (1)      Shining Star Investments            a/r                                                                  1121-000           $3,356.00                                          $18,621.79
07/21/2020            101      HEALTHY TECHNOLOGY SOLUTIONS        RECOVERY OF DEBTOR'S COMPUTER DATA PER                               3991-000                                         $1,063.75            $17,558.04
                               LLC                                 ORDER ENTERED 9/21/20 [DOC 86]
08/31/2020                     Independent Bank                    Account Analysis Charge                                              2600-000                                           $40.18             $17,517.86
09/21/2020            102      GENSKE, MULDER & COMPANY, LLP       CLIENT NO. 11646; SPECIAL ACCOUNTANT FEES                            3410-580                                         $1,960.00            $15,557.86
                                                                   FOR PREPARATION OF 2019 TAX RETURN; PER
                                                                   ORDER ENTRED 9/21/20 [DOC 85]
09/22/2020                     Transfer From: #*******0752         Transfer from Trust Account to General Account                       9999-000          $12,571.00                                          $28,128.86
09/30/2020                     Independent Bank                    Account Analysis Charge                                              2600-000                                           $41.09             $28,087.77
10/30/2020                     Independent Bank                    Account Analysis Charge                                              2600-000                                           $40.96             $28,046.81
11/05/2020            (5)      NELLIS AUCTION                      Sale of office equipment at auction per order entered                1129-000           $2,935.00                                          $30,981.81
                                                                   9/21/20 [Doc 84]
11/16/2020            103      NELLIS AUCTION                      AUCTIONEER FEES PER ORDER ENTERED 9/21/20                            3610-000                                          $733.75             $30,248.06
                                                                   [DOC 84]
11/30/2020                     Independent Bank                    Account Analysis Charge                                              2600-000                                           $44.72             $30,203.34
12/07/2020            104      Schwartzer & McPherson Law Firm     Attorney Fees and Expenses per Order entered 12/7/20                    *                                         $11,808.34               $18,395.00
                                                                   [Doc 133]
                                                                   Schwartzer & McPherson Law Firm                   $(11,487.00)       3110-000                                                              $18,395.00
                                                                   Schwartzer & McPherson Law Firm                         $(321.34)    3120-000                                                              $18,395.00
12/31/2020                     Independent Bank                    Account Analysis Charge                                              2600-000                                           $40.24             $18,354.76
01/13/2021            105      INTERNATIONAL SURETIES, LTD.        VOID - DURING DISTRIBUTION OF PAYMENTS                               2300-003                                            $8.95             $18,345.81
                                                                   FOR BOND PREMIUMS, CHECK POSTED IN
                                                                   ERROR; Bond Payment
01/13/2021            105      VOID: INTERNATIONAL SURETIES,       VOID - DURING DISTRIBUTION OF PAYMENTS                               2300-003                                            ($8.95)           $18,354.76
                               LTD.                                FOR BOND PREMIUMS, CHECK POSTED IN
                                                                   ERROR; Void of Check# 105




                                                                                                                                       SUBTOTALS          $34,127.79                 $15,773.03
                                                      Case 20-10752-abl         Doc 187          Entered
                                                                                                 FORM 201/21/22 07:29:36         Page 9 of 12                  Page No: 2                    Exhibit 9
                                                                          CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         20-10752-ABL                                                                                Trustee Name:                           Lenard E. Schwartzer
 Case Name:                       JIMENEZ ARMS, INC.                                                                          Bank Name:                              Independent Bank
Primary Taxpayer ID #:            **-***0912                                                                                  Checking Acct #:                        ******0752
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:
For Period Beginning:             2/10/2020                                                                                   Blanket bond (per case limit):          $5,000,000.00
For Period Ending:                1/18/2022                                                                                   Separate bond (if applicable):

       1                2                                  3                                             4                                         5                        6                        7

   Transaction       Check /                             Paid to/                Description of Transaction                    Uniform           Deposit            Disbursement                  Balance
      Date            Ref. #                          Received From                                                           Tran Code            $                     $


01/13/2021            106      INTERNATIONAL SURETIES, LTD.               VOID - DURING DISTRIBUTION OF PAYMENTS               2300-003                                            $8.95             $18,345.81
                                                                          FOR BOND PREMIUMS, CHECK POSTED IN
                                                                          ERROR; Bond Payment
01/13/2021            106      VOID: INTERNATIONAL SURETIES,              VOID - DURING DISTRIBUTION OF PAYMENTS               2300-003                                            ($8.95)           $18,354.76
                               LTD.                                       FOR BOND PREMIUMS, CHECK POSTED IN
                                                                          ERROR; Void of Check# 106
01/13/2021            107      INTERNATIONAL SURETIES, LTD.               Bond #016048576                                      2300-000                                            $8.95             $18,345.81
01/29/2021                     Independent Bank                           Account Analysis Charge                              2600-000                                           $26.76             $18,319.05
02/24/2021            108      KENNETH A. SELTZER, CPA                    ACCOUNTANT FEES PER ORDER ENTERED                    3410-000                                          $500.00             $17,819.05
                                                                          2/24/21 [DOC 160]
02/26/2021                     Independent Bank                           Account Analysis Charge                              2600-000                                           $26.71             $17,792.34
03/31/2021                     Independent Bank                           Account Analysis Charge                              2600-000                                           $25.94             $17,766.40
04/30/2021                     Independent Bank                           Account Analysis Charge                              2600-000                                           $25.90             $17,740.50
05/28/2021                     Independent Bank                           Account Analysis Charge                              2600-000                                           $25.87             $17,714.63
06/30/2021                     Independent Bank                           Account Analysis Charge                              2600-000                                           $25.83             $17,688.80
07/30/2021                     Independent Bank                           Account Analysis Charge                              2600-000                                           $25.79             $17,663.01
08/16/2021            109      KENNETH A. SELTZER, CPA                    ACCOUNTANT FEES PER ORDER ENTERED                    3410-000                                          $500.00             $17,163.01
                                                                          8/16/21 [DOC 167]
11/23/2021            110      Lenard E. Schwartzer                       Trustee Compensation                                 2100-000                                         $4,162.78            $13,000.23
11/23/2021            111      Lenard E. Schwartzer                       Trustee Expenses                                     2200-000                                          $700.60             $12,299.63
11/23/2021            112      Alcohol and Tobacco Tax and Trade Bureau   Claim #: 13; Account Number: ; Amount Claimed:       4220-000                                     $12,299.63                      $0.00
                                                                          497,124.79; Amount Allowed: 497,124.79; Dividend:
                                                                          71.66; Distribution Dividend: 2.47;




                                                                                                                              SUBTOTALS                $0.00                $18,354.76
                                                   Case 20-10752-abl   Doc 187          Entered
                                                                                         FORM 01/21/22
                                                                                                2      07:29:36                    Page 10 of 12                   Page No: 3                Exhibit 9
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          20-10752-ABL                                                                                  Trustee Name:                             Lenard E. Schwartzer
Case Name:                        JIMENEZ ARMS, INC.                                                                            Bank Name:                                Independent Bank
Primary Taxpayer ID #:            **-***0912                                                                                    Checking Acct #:                          ******0752
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:
For Period Beginning:             2/10/2020                                                                                     Blanket bond (per case limit):            $5,000,000.00
For Period Ending:                1/18/2022                                                                                     Separate bond (if applicable):

      1                 2                                3                                       4                                                      5                       6                    7

  Transaction        Check /                          Paid to/           Description of Transaction                              Uniform           Deposit              Disbursement              Balance
     Date             Ref. #                       Received From                                                                Tran Code            $                       $


                                                                                   TOTALS:                                                            $34,127.79                $34,127.79                  $0.00
                                                                                       Less: Bank transfers/CDs                                       $12,571.00                     $0.00
                                                                                   Subtotal                                                           $21,556.79                $34,127.79
                                                                                       Less: Payments to debtors                                           $0.00                     $0.00
                                                                                   Net                                                                $21,556.79                $34,127.79



                     For the period of 2/10/2020 to 1/18/2022                                                For the entire history of the account between 03/17/2020 to 1/18/2022

                     Total Compensable Receipts:                   $21,556.79                                Total Compensable Receipts:                                    $21,556.79
                     Total Non-Compensable Receipts:                    $0.00                                Total Non-Compensable Receipts:                                     $0.00
                     Total Comp/Non Comp Receipts:                 $21,556.79                                Total Comp/Non Comp Receipts:                                  $21,556.79
                     Total Internal/Transfer Receipts:             $12,571.00                                Total Internal/Transfer Receipts:                              $12,571.00


                     Total Compensable Disbursements:              $34,127.79                                Total Compensable Disbursements:                               $34,127.79
                     Total Non-Compensable Disbursements:               $0.00                                Total Non-Compensable Disbursements:                                $0.00
                     Total Comp/Non Comp Disbursements:            $34,127.79                                Total Comp/Non Comp Disbursements:                             $34,127.79
                     Total Internal/Transfer Disbursements:             $0.00                                Total Internal/Transfer Disbursements:                              $0.00
                                                   Case 20-10752-abl    Doc 187          Entered
                                                                                          FORM 01/21/22
                                                                                                 2      07:29:36                          Page 11 of 12                   Page No: 4                Exhibit 9
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         20-10752-ABL                                                                                         Trustee Name:                             Lenard E. Schwartzer
 Case Name:                       JIMENEZ ARMS, INC.                                                                                   Bank Name:                                Independent Bank
Primary Taxpayer ID #:            **-***0912                                                                                           Checking Acct #:                          ******0752
Co-Debtor Taxpayer ID #:                                                                                                               Account Title:                            Trust Account
For Period Beginning:             2/10/2020                                                                                            Blanket bond (per case limit):            $5,000,000.00
For Period Ending:                1/18/2022                                                                                            Separate bond (if applicable):

       1                2                                  3                                      4                                                            5                       6                    7

   Transaction       Check /                          Paid to/            Description of Transaction                                    Uniform           Deposit              Disbursement              Balance
      Date            Ref. #                       Received From                                                                       Tran Code            $                       $


06/18/2020            (8)      EVERYTOWN FOR GUN SAFETY            PURCHASE OF GUN PARTS PER ORDER ENTERED                              1229-000          $10,000.00                                        $10,000.00
                                                                   9/17/20 [DOC 82]
09/22/2020            (8)      EVERYTOWN FOR GUN SAFETY            SALE OF GUN PARTS PER ORDER ENTERED                                  1229-000             $2,571.00                                      $12,571.00
                                                                   9/17/20 [DOC 82]
09/22/2020                     Transfer To: #*******0752           Transfer to General Account from Trust Account                       9999-000                                       $12,571.00                  $0.00

                                                                                    TOTALS:                                                                  $12,571.00                $12,571.00                  $0.00
                                                                                        Less: Bank transfers/CDs                                                  $0.00                $12,571.00
                                                                                    Subtotal                                                                 $12,571.00                     $0.00
                                                                                        Less: Payments to debtors                                                 $0.00                     $0.00
                                                                                    Net                                                                      $12,571.00                     $0.00



                     For the period of 2/10/2020 to 1/18/2022                                                       For the entire history of the account between 06/16/2020 to 1/18/2022

                     Total Compensable Receipts:                   $12,571.00                                       Total Compensable Receipts:                                    $12,571.00
                     Total Non-Compensable Receipts:                    $0.00                                       Total Non-Compensable Receipts:                                     $0.00
                     Total Comp/Non Comp Receipts:                 $12,571.00                                       Total Comp/Non Comp Receipts:                                  $12,571.00
                     Total Internal/Transfer Receipts:                  $0.00                                       Total Internal/Transfer Receipts:                                   $0.00


                     Total Compensable Disbursements:                   $0.00                                       Total Compensable Disbursements:                                    $0.00
                     Total Non-Compensable Disbursements:               $0.00                                       Total Non-Compensable Disbursements:                                $0.00
                     Total Comp/Non Comp Disbursements:                 $0.00                                       Total Comp/Non Comp Disbursements:                                  $0.00
                     Total Internal/Transfer Disbursements:        $12,571.00                                       Total Internal/Transfer Disbursements:                         $12,571.00
                                                  Case 20-10752-abl   Doc 187         Entered
                                                                                       FORM 01/21/22
                                                                                              2      07:29:36                 Page 12 of 12                 Page No: 5              Exhibit 9
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         20-10752-ABL                                                                              Trustee Name:                           Lenard E. Schwartzer
Case Name:                       JIMENEZ ARMS, INC.                                                                        Bank Name:                              Independent Bank
Primary Taxpayer ID #:           **-***0912                                                                                Checking Acct #:                        ******0752
Co-Debtor Taxpayer ID #:                                                                                                   Account Title:                          Trust Account
For Period Beginning:            2/10/2020                                                                                 Blanket bond (per case limit):          $5,000,000.00
For Period Ending:               1/18/2022                                                                                 Separate bond (if applicable):

      1                 2                                3                                     4                                                 5                       6                  7

  Transaction        Check /                         Paid to/          Description of Transaction                           Uniform           Deposit            Disbursement             Balance
     Date             Ref. #                      Received From                                                            Tran Code            $                     $




                                                                                                                                                                              NET           ACCOUNT
                                                                                 TOTAL - ALL ACCOUNTS                               NET DEPOSITS                         DISBURSE          BALANCES

                                                                                                                                              $34,127.79             $34,127.79                     $0.00




                     For the period of 2/10/2020 to 1/18/2022                                           For the entire history of the case between 02/10/2020 to 1/18/2022

                     Total Compensable Receipts:                  $34,127.79                            Total Compensable Receipts:                                  $34,127.79
                     Total Non-Compensable Receipts:                   $0.00                            Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                $34,127.79                            Total Comp/Non Comp Receipts:                                $34,127.79
                     Total Internal/Transfer Receipts:            $12,571.00                            Total Internal/Transfer Receipts:                            $12,571.00


                     Total Compensable Disbursements:             $34,127.79                            Total Compensable Disbursements:                             $34,127.79
                     Total Non-Compensable Disbursements:              $0.00                            Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:           $34,127.79                            Total Comp/Non Comp Disbursements:                           $34,127.79
                     Total Internal/Transfer Disbursements:       $12,571.00                            Total Internal/Transfer Disbursements:                       $12,571.00




                                                                                                                        /s/ LENARD E. SCHWARTZER
                                                                                                                        LENARD E. SCHWARTZER
